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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 15-2507-JLK

 KYLE JEFFERY SCHWARK,

         Plaintiff,
 v.

 SHERIFF FRED WEGENER, in his official and individual capacities;
 NURSE SUSAN CANTERBURY, in her individual capacity;
 NURSE JERI SWANN, in her individual capacity;
 NURSE CATHLENE PEARCE, in her individual capacity;
 DOCTOR KATHERINE FITTING, in her individual capacity,

       Defendants.
 ______________________________________________________________________________

      PLAINTIFF’S EXPERT WITNESS DISCLOSURE PURSUANT TO FED. R. CIV. P.
                                   26(a)(2)

         Plaintiff Kyle Jeffery Schwark, by and through his attorneys, David A. Lane and Julian

 G.G. Wolfson of KILLMER, LANE & NEWMAN, LLP, hereby submits pursuant to Fed. R. Civ. P.

 26(a)(2) the individuals who may be called as expert witnesses at the trial of the above-captioned

 litigation:

                                       I.     RETAINED EXPERTS

         None.

                                 II.        NON-RETAINED EXPERTS

      1. Jonathan W. Singer, D.O.
         Healthfirst
         8400 East Prentice Avenue, Suite 310
         Greenwood Village, CO 80111

         Dr. Singer has treated, and continues to treat, Plaintiff, and was the individual responsible

 for prescribing the medications Plaintiff alleges he was denied in the Park County Jail. Dr.


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                                                                                                 Exhibit M
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 Singer is expected to testify to the reason(s) why Plaintiff was prescribed these medications, the

 function of such medications, and the effect of abruptly terminating administration of such

 medications, amongst other things.

         Dr. Singer is expected to testify as to his personal observations and evaluations of

 Plaintiff, and as a medical professional.

     2. Herbert I. Fried, M.D.
        Denver Health Medical Center
        777 Bannock St.
        Denver, Co 80204

         Dr. Fried was the attending physician who treated Plaintiff between 11/14/2013 and

 11/19/2013. Dr. Fried is expected to testify to the fact that Plaintiff had bilateral C7 Pedicle

 fractures (and as a result had to be placed in a C-collar); a head laceration; and was dependent on

 opioids. Dr. Fried is also expected to testify that Plaintiff was given prescriptions for Xanax and

 Suboxone upon discharge, amongst other discharge instructions. Finally, Dr. Fried is expected to

 testify as to the results of tests run on Plaintiff, including but not limited to pathology reports.

         Dr. Fried is expected to testify as to his personal observations and evaluations of Plaintiff,

 and as a medical professional.

     3. Kevin McVaney, M.D.
        Denver Health Medical Center
        777 Bannock St.
        Denver, Co 80204

         Dr. McVaney was the attending physician who examined Plaintiff when Plaintiff arrived

 at Denver Health on or around 11/14/2013. Dr. McVaney also provided care to Plaintiff after

 admission. Dr. McVaney is expected to testify as to Plaintiff’s physical health upon admission.

 More specifically, Dr. McVaney is expected to testify that Plaintiff arrived at the hospital with an

 acute traumatic fracture in his spine and that surgery was recommended. Finally, Dr. McVaney



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 is expected to testify as to the treatment and tests run on Plaintiff as it concerned his spinal

 injury.

           Dr. McVaney is expected to testify as to his personal observations and evaluations of

 Plaintiff, and as a medical professional.

     4. Julie A. Taub, M.D.
        Denver Health Medical Center
        777 Bannock St.
        Denver, Co 80204

           Dr. Taub was one the treating physicians when Plaintiff was admitted on 3/10/2014. Dr.

 Taub is expected to testify to the treatment that she provided and all diagnoses made concerning

 Plaintiff. Dr. Taub is also expected to testify to Plaintiff’s psychosis, encephalopathy, agitation,

 and benzodiazepines use disorder/withdrawal, amongst other things. Finally, Dr. Taub is

 expected to testify to the fact that Plaintiff was possibly withdrawing from Suboxone and that his

 health may be improved if on Suboxone.

           Dr. Taub is expected to testify as to her personal observations and evaluations of

 Plaintiff, and as a medical professional.

     5. Katherine Hurlbut
        Denver Health Medical Center
        777 Bannock St.
        Denver, Co 80204

           Dr. Hurlbut was one of the attending physicians who treated Plaintiff on or around

 3/10/2014. Dr. Hurlbut is expected to testify to Plaintiff’s mental health, including but not

 limited to diagnosing Plaintiff was benzodiazepine withdrawal, opiod withdrawal, and acute

 psychosis. Dr. Hurlbut is also expected to testify that Plaintiff needed antipsychotic medications,

 but that Park County Jail was unable/unequipped to administer such medications against

 Plaintiff’s will.



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          Dr. Hurlbut is expected to testify as to her personal observations and evaluations of

 Plaintiff, and as a medical professional.

       6. Robert M. House, M.D.
          Denver Health Medical Center
          777 Bannock St.
          Denver, Co 80204

          Dr. House was one of the attending physicians that treated Plaintiff when Plaintiff was

 admitted to Denver Health on 3/10/2014. Dr. House is expected to testify to the psychiatric

 treatment provided to Plaintiff and the results of the psychiatric evaluation he performed on

 Plaintiff. Dr. House is also expected to testify to Plaintiff’s mental health issues, including but

 not limited to his psychosis and other similar psychotic disorders, and the state of Plaintiff’s

 mental health when he was admitted on or around 3/10/2014.

          Dr. House is expected to testify as to his personal observations and evaluations of

 Plaintiff, and as a medical professional.

       7. Michael Susalla, M.D.
          Denver Health Medical Center
          777 Bannock St.
          Denver, Co 80204

          Dr. Susalla was one of the physicians that provided care to Plaintiff on or around

 3/10/2014. Dr. Susalla is expected to testify to Plaintiff’s mental health issues, including but not

 limited to his psychosis. Dr. Susalla is also expected to testify that Plaintiff needed to be

 administered medications against his will but that Park County Jail did not have the ability to do

 so.

          Dr. Susalla is expected to testify as to his personal observations and evaluations of

 Plaintiff, and as a medical professional.




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    8. Thida Thant, M.D.
       Denver Health Medical Center
       777 Bannock St.
       Denver, Co 80204

        Dr. Thant provided treatment to Plaintiff on or around 3/11/2014. Specifically, Dr. Thant

 provided Plaintiff with a psychiatry consultation. Dr. Thant is expected to testify to the findings

 and recommendations generated from her psychiatry consultation with Plaintiff, including but

 not limited to the fact that she found Plaintiff to suffer from psychosis and agitation, and that

 Plaintiff was likely withdrawing from benzodiazepines (which he was dependent on).

        Dr. Thant is expected to testify as to her personal observations and evaluations of

 Plaintiff, and as a medical professional.

    9. Craig Holland, M.D.
       Denver Health Medical Center
       777 Bannock St.
       Denver, Co 80204

        Dr. Holland was one of the attending physicians that treated Plaintiff on or around

 3/11/2014. Dr. Holland is expected to testify to Plaintiff’s mental health issues, including but not

 limited to Plaintiff’s psychosis (including the cause of his psychosis) and Plaintiff’s agitation.

 Dr. Holland is also expected to testify to Plaintiff’s benzodiazepine dependence issues and to the

 fact that Plaintiff was likely withdrawing from benzodiazepines and/or other substances prior to

 and during his admission to the hospital.

        Dr. Holland is expected to testify as to his personal observations and evaluations of

 Plaintiff, and as a medical professional.

    10. Benjamin Metelits, M.D.
        Denver Health Medical Center
        777 Bannock St.
        Denver, Co 80204




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        Dr. Metelits was one of the treating physicians for Plaintiff on or around 3/10/2014. Dr.

 Metelits is expected to testify, amongst other things, on the status of Plaintiff’s mental health

 during the period of time when he treated Plaintiff, including but not limited to Plaintiff’s

 psychosis disorder and Plaintiff’s benzodiazepine/opiate dependency issues.

        Dr. Metelits is expected to testify as to his personal observations and evaluations of

 Plaintiff, and as a medical professional.

    11. Venkata Manchala
        Denver Health Medical Center
        777 Bannock St.
        Denver, Co 80204

        Dr. Manchala was one of Plaintiff’s treating physicians on or around 3/11/2014, who was

 responsible for conducting Plaintiff’s Medicine History & Physical/Consultation. Dr. Manchala

 will be expected to testify as to Plaintiff’s diagnoses, including but not limited to his agitation

 and psychosis. Dr. Manchala is also expected to testify to the fact that Plaintiff might have been

 suffering from opiate withdrawal.

    12. Any expert endorsed by any other party.

    13. Plaintiff reserves the right to supplement the opinions of his experts and/or retain or

        identify additional expert witnesses as needed based on the information he receives

        throughout the course of discovery.

        Respectfully submitted this 23rd day of September, 2016.

                                                KILLMER, LANE & NEWMAN, LLP

                                                /s Julian G.G. Wolfson
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                                    Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of September 2016, I served a true and correct copy
 of the foregoing PLAINTIFF’S EXPERT WITNESS DISCLOSURE PURSUANT TO FED. R.
 CIV. P. 26(a)(2) via electronic mail and addressed to the following persons:

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 Attorney for Defendant Fitting



                                                      s/ Jamie Akard

                                                      Jamie Akard




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